                     Case 1:21-mc-00706-MCC Document 1 Filed 09/09/21 Page 1 of 1
AO 106 (Rev. 04/10) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                       for the
                                                         Middle District of Pennsylvania


              In the Matter of the Search of
                                                                         )
         (Briefly describe the property to be searched                   )
          or identifY the person by name and address)                                   Case No. 1:21-mc-00706
                                                                         )
    IN THE MAnER OF THE SEARCH OF THE                                    )
PREMISES OF KENNETH W. HARR, JR. LOCATED AT                              )
      954 W DUTCH CORNER RD PA, 17233                                    )

                                             APPLICATION FOR A SEARCH WARRANT
          I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perj ury that I have reason to bel ieve that on the following person or property (identifY the person or describe the
prffe~9\f~a~'hWf~g1e~and give its location):


located in the               Middle              District of             Pennsylvania                       , there is now concealed (identify the
                    ---------------                            -----------~----------
person or describe the property to be seized):
  See Attachment       B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  ~ evidence of a crime;
                  ~ contraband,     fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing                       a crime;
                 o a person     to be arrested or a person who is unlawfully                restrained.

          The search is related to a violation of:
              Code Section                                                              Offense Description
        18 U.S.C. § 2251                          Sexual Exploitation of Children



         The application is based on these facts:
        See Attached Affidavit


          ~    Continued     on the attached sheet.
          o    Delayed notice of         days (give exact ending date if more than 30 days: ---------                                   ) is requested
               under 18 U.S.C. § 31 03a, the basis of which is set forth on the attached sheet.



                                                                                  "                        Applicant's   signature

                                                                                                          SA Sean McGraw, FBI
                                                                                                           Printed name and title

Sworn to before me and signed in my presence.


Date:            09/09/2021                                         5( Mu.(A\         V'\      (_.   CRt   \")bY\    ide.fV-6vt.:    Cg\Ly   a,U{iAQ~7Rd   'S'11-A
                                                                                                              Judge's signature

City and state:     HARRISBURG, PA                                               MARTIN C. CARLSON, U.S. MAGISTRATE JUDGE
                                                                                                           Printed name and title
